       Case 2:94-cr-00040-JEG Document 16 Filed 09/13/94 Page 1 of 1
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                   UNITED STATES DISTRICT COURT FOR THE
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                      SOUTHERN DISTRICT OF GEORGIA
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                           BRUNSWICK DIVISION                  SO. D! ST. OF GA.

UNITED STATES OF AMERICA                        Information No. CR294-40

           V   .                                VIO: 18 U.S.C. 7
                                                      18 U.S.C. 13
   TYRONE D. SALAZAR                                  O.C.G.A.
                                                          40-6-391(a)(1)
                                                          40-6-391(a)(4)
                                                DUI on a Military
                                                Reservation
                            ORDER OF DISMISSAL
               Pursuant to Rule 48(a) of the Federal Rules of
Criminal Procedure and by leave of court endorsed heron, the United
States Attorney for the Southern District of Georgia hereby
dismisses the information in the above-styled case without
prejudice.

                                         L&
                                     FREDRICK J. BISSINGER
                                     Special Assistant
                                     United States Attorney

Leave of court is granted for the filing of the foregoing
dismissal.
                               I
                   This       / )       day of September, 1994



                                        ES E. GRAHAM
                                        ted States District Judge
                                        thern District of Georgia




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